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                EXHIBIT 17
                                   Case
                                   Case 21-32261  Document Document
                                        1:21-cv-06479-VSB  44-17 RP-2017-117839
                                                                 Filed in TXSB
                                                                    15-17   Filedon10/11/21
                                                                                    08/03/21 Page
                                                                                              Page2 2ofof4 4
                                                                                     $20.00                 03/21/2017                  ER




        UCC FINANCING STATEMENT AMENDMENT
        FOLLOW INSTRUCTIONS

        A. NAME & PHONE OF CONTACT AT FILER (optional)
             Vanessa A. Orta 405-236-0003
        B. E-MAIL CONTACT AT FILER (optional)


        C. SENO ACKNOWLEDGMENT TO:                     (Name and Address)


             !McCoy & Orta, P.C.                                                                             7
               100 North Broadway, 26th Floor
               Oklahoma City, OK 73102
             L                                                                                               _J
                                                                                                                                   THE ABOVE SPACE IS FOR FILING OFFICE USE ONLV
        1a. INITIAL FINANCING STATEMENT FILE NUMBER                                                                 11 b,[ZJ This FINANCING STATEMENT AMENDMENT is to be filed [for record]
                                                                                                                             (or recorded) in the REAL ESTATE RECORDS
        RP-2016-481296 filed 10/25/16                                                                                        Filer: a.llal;IJ Amendment Addendum (Form UCC3Ad) llllll provide Debtor's name in Item 13
        2.   0    TERMINATION: Effectiveness of the Financing Statement identified above is terminated with respect to the security interest(s) of Secured Party authorizing this Termination
                  Statement

        3.   [Z] ASSIGNMENT@:,, partial):          Provide name of Assignee in item 7a or 7b, fill!! address of Assignee in item 7c fill!! name of Assignor in item 9
                  For partial assignment, complete items 7 and 9 aw! also indicate affected collateral in item 8

        4.   D CONTINUATION:            Effectiveness of the Financing Statement identified above with respect to the security interest(s) of Secured Party authorizing this Continuation Statement is
                  continued for the additional period provided by applicable law

        5.   □ PARTY INFORMATION CHANGE:
             Check l2!lll of these two boxes:                                    AMO. Check l2!lJl of these three boxes to:
                                                                                            CHANGE name and/or address: Complete                ADD name: Complete item            DELETE name: Give record name
             This Change affects                    Secured Party of record                 item 6a or 6b; lmll item 7a or 7b lmll item 7c      7a or 7b, l!!ll! item 7c           to be deleted in item 6a or 6b
        6. CURRENT RECORD INFORMATION: Complete for Party Information Change - provide only l2!lll name (6a or 6b)
0)          6a. ORGANIZATION'S NAME
C"')
CX)
r,...   OR 6b. INDIVIDUAL'S SURNAME                                                                 FIRST PERSONAL NAME                                    ADDITIONAL NAME(S)/INITIAL(S)                SUFFIX
~

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    I
r,...   7. CHANGED OR ADDED INFORMATION: Complete for Assignment or Party Information Change• provide only 2!l§. name (7a or 7b) (use exact full name; do not omrt, modify or abbreviate any part of the Debtors name)
            7a. ORGANIZATION'S NAME
~

0                RIAL TO MORTGAGE FINANCE, LLC
        OR
N              7b. INDIVIDUAL'S SURNAME
    I
0....
0::::              INDIVIDUAL'S FIRST PERSONAL NAME


                   INDIVIDUAL'S ADDITIONAL NAME(S)/INITIAL(S)                                                                                                                                           SUFFIX


        7c. MAILING ADDRESS                                                                                                                               'STATE      rOSTALCODE                        COUNTRY
                                                                                                   !CITY
        600 Madison Avenue, 12th Floor                                                              New York                                                NY          10022                           USA
        8.   □ COLLATERAL CHANGE: A!fil! check l2!lll of these four boxes:                □ ADD collateral           □    DELETE collateral         D RESTATE covered collateral               □   ASSIGN collateral
                  Indicate collateral:




        9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Provide only l2Dll name (9a or 9b) (name of Assignor, if this is an Assignment)
           If this is an Amendment authorized by a DEBTOR, check here and provide name of authorizing Debtor
                 9a. ORGANIZATION'S NAME

                 RMF SUB 1, LLC
        OR 9b. INDIVIDUAL'S SURNAME                                                                 FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)               SUFFIX



        10. OPTIONAL FILER REFERENCE DATA:
        Holiday Inn Webster Reference No.: 4435.017 FILE WITH HARRIS COUNTY, TX

                                                            UCC FINANCING STATEMENT AMENDMENT (Form UCC3) (Rev. 04/20/11)
                              Case
                              Case 21-32261  Document Document
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                                                                                         Page3 3ofof4 4




        UCC FINANCING STATEMENT AMENDMENT ADDENDUM
        FOLLOW INSTRUCTIONS

        11. INITIAL FINANCING STATEMENT FILE NUMBER: Same as item 1a on Amendment form
        RP-2016-481296 filed 10/25/16
        12. NAME OF PARTY AUTHORIZING THIS AMENDMENT: Same as item 9 on Amendment form
             12a. ORGANIZATION'S NAME
             RMF SUB 1, LLC


        OR
             12b. INDIVIDUAL'S SURNAME


                  FIRST PERSONAL NAME


                  ADDITIONAL NAME(S)/INITIAL(S)                                                            ISUFFIX
                                                                                                                                   THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
        13. Name of DEBTOR on related financing statement (Name of a current Debtor of record required for indexing purposes only in some filing offices - see Instruction item 13): Provide only
            2lll! Debtor name (13a or 13b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); see Instructions if name does not fit

             13a. ORGANIZATION'S NAME
              KORNBLUTH TEXAS, LLC
        OR 13b. INDIVIDUAL'S SURNAME                                                           FIRST PERSONAL NAME                                ADDITIONAL NAME(S)/INITIAL(S)    SUFFIX



        14. ADDITIONAL SPACE FOR ITEM 8 (Collateral):




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        15. This FINANCING STATEMENT AMENDMENT:                                                                 17. Description of real estate:
             D covers timber to be cut          covers as-extracted collateral ✓ is filed as a fixture filing   Property Address: 302 West Bay Area Boulevard,
        16. Name and address of a RECORD OWNER of real estate described in item 17
            (if Debtor does not have a record interest):                                                        Webster, TX




        18. MISCELLANEOUS:



                                              UCC FINANCING STATEMENT AMENDMENT ADDENDUM (Form UCC3Ad) (Rev. 04/20/11)
        Case
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                                                  Filed
                                                      on10/11/21
                                                         08/03/21 Page
                                                                   Page44ofof44




                  RP-2017-117839
                  # Pages 3
                  03/21/2017 09:20 AM
                  e-Filed   &   e-Recorded in the
                  Official Public Records of
                  HARRIS COUNTY
                  STAN STANART
                  COUNTY CLERK
                  Fees   $20.00




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    I
0....             RECORDERS MEMORANDUM
0::::             This instrument was received and recorded electronically
                  and any blackouts, additions or changes were present
                  at the time the instrument was filed and recorded.




                  Any provision herein which restricts the sale, rental, or
                  use of the described real property because of color or
                  race is invalid and unenforceable under federal law.
                  THE STATE OF TEXAS
                  COUNTY OF HARRIS
                  I hereby certify that this instrument was FILED in
                  File Number Sequence on the date and at the time stamped
                  hereon by me; and was duly RECORDED in the Official
                  Public Records of Real Property of Harris County, Texas.



                                      COUNTY CLERK
                                      HARRIS COUNTY, TEXAS
